                          Case 1:10-cv-00210-PLF DocumentFor
                                                          17 Horry
                                                             Filed 07/08/10
                                                                    County,Page 1 ofCarolina
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AO 440 (Rev. 12,09) Summons in a Civil Action (Page 2)

Civil Aclion No. 01:10-L;V-00210

                                                           PROOF OF SERVICE
                          (This section should not be filed with the court unless required by Fad. R. Civ. P. 4 (!))

           This Summons for (name of individual and tilte, if any)
                                                                                                                                           Ov^I
 was received by me on (day                  ^jflLjjy Q QJ£) j A                                    \                                               *
                                             "S
           V I personally served the summons on the individual at (place) (A                                  P_ojU.                  ^V\~ L_O


               I left the summons at the individual's residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there.
           on (date)                                . and mailed a copy to the individual's last known address: or

           i~J I served the summons on (name of individual)                                                                                               , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                                   on <datet                                 ; or

            ~I I returned the summons unexecuted because                                                                                                       ; or

            L~I Other (specify):




            My fees are $                           for travel and $                                for services, for a total of $                      o.OO


            1 declare under pena/ly of perjury that this information is true.


  Date:
                                                                                                                      ^
                                                                                                              .? e rwr*wA4H/'



                                                                                                           Printed name and title




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                 t" ~-j      ^_J                                       =   •   "•   5«   ™—**—'•        1—fV/tl       I J   'r   ——'—" J
                                                                                                                  Server's address

  Additional information regarding attempted service, etc:
